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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

UMG RECORDINGS, INC,, ef ai.,

Civil Action No. 19-17272

Plaintiffs, (MAS) (TJB)

v.
RCN TELECOM SERVICES, LLC, et al,

Defendants.

 

 

JOINT AGREED ADDENDUM TO PROTECTIVE ORDER
REGARDING RIGHTSCORP SOURCE CODE

WHEREAS the Court entered a Discovery Confidentiality Order (Dkt. No.
85) to protect party and non-party confidential business information in the above-
captioned action on August 7, 2020;

WHEREAS defendant RCN Telecom Services, LLC (“RCN”), and its
technical experts desire to review certain source code produced by third-party
Rightscorp, Inc. (““Rightscorp”), including source code produced in other cases and
deemed produced in the above-captioned action as well as further productions in this
action;

The parties and Rightscorp hereby agree to the following provisions
governing the review of the Rightscorp source code by RCN and its experts:

t. Rightscorp source code will be considered “ATTORNEYS’ EYES ONLY”
or “ATTORNEYS”? EYES ONLY -— SUBJECT TO DISCOVERY

 
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CONFIDENTIALITY ORDER?” (“Attorneys’ Eyes Only”) under the existing
protective order, subject to the further requirements and conditions herein. The
source code will only be reviewed by counsel for RCN and RCN’s technical
experts, and not by any personnel of RCN. Any party counsel or technical
expert that a party wishes to take part in the review must agree to these
conditions in advance, with all technical experts using the forms in Exhibit
A and Exhibit B hereto.

2. The Rightscorp source code will be provided on a stand-alone laptop. The
laptop will be configured not to connect to the internet or any external drive
or other storage device. RCN agrees that it will make no attempt fo connect —
the computer to the internet or connect any external storage device to it. No
person may bring into the room housing the source code review computer
any analogue or electronic recording devices, including, but not limited to,
audio, image or video recorders; or wireless devices with data transmission
capabilities, unless agreed otherwise by Rightscorp in advance, in writing.
The sole exception to this restriction being the ability for the technical expert
to use a laptop computer to prepare his or her expert report during the review,
with the understanding that such computer will not be used to record or |
duplicate the source code other than as set forth in this agreement.

3. No less than one week in advance of any scheduled review, RCN will provide
written notice of all individuals that it requests to have access to the
Rightscorp source code, Rightscorp will then have 2 business days to object
to any such individual. Rightscorp and RCN shall meet and confer regarding
any disputes. If and only if any disputes cannot be resolved within 3 business
days of having met and conferred, RCN may apply to the Court for relief.
Consent will not unreasonably be withheld, following proper notice.

4, No portion of the source code may be copied.

5, RCN may print portions of the Rightscorp source code reasonably
anticipated to be necessary for use in, and preparation for, court filings and
proceedings, expert reports, and depositions in the above-captioned matter.
RCN will log the original name and location (i.c., directory path) of each
printed source code file and provide this log to Plaintiffs and counsel for
Rightscorp no later than the deadline for RCN’s expert disclosures. In no
event may RCN print more than 50 consecutive pages of Rightscorp source
code without prior written approval by Rightscorp.

6. Printed copies of Rightscorp source code shall be marked with the following:
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“HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY COMPUTER
SOURCE CODE” and otherwise maintained in confidence as required by
“Attorneys’ Eyes Only” materials under the existing protective order, Printed
copies of the Rightscorp source code shall be securely maintained in locked
rooms or cabinets at the offices of RCN’s outside counsel or expert
consultants. Printed copies shall be destroyed as soon as they are no longer
needed. No electronic copies (e.g., Adobe PDF files) of any of the printed
source code may be created, except as necessary for any filings with the
Court, and such filings shall be made under seal,

. RCN’s outside counsel or outside consultants may take notes during any
Rightscorp source code inspection but may not copy portions of the
Rightscorp source code into such notes, Any such notes must be marked with
the “HIGHLY CONFIDENTIAL —- ATTORNEYS’ EYES ONLY
COMPUTER SOURCE CODE” marking applicable to the Rightscorp
source code printouts and treated consistent with such materials and
otherwise maintained in confidence as required by “Attorneys’ Eyes Only”
materials under the existing protective order.

. Rightscorp reserves all rights in connection with the review of its source code
information including the right to take action against any party that violates
any of the above conditions and to seek relief from the Court.

. For the avoidance of doubt, this addendum applies to further productions of
Rightscorp source code as well as prior productions of Rightscorp source
code that have already been deemed produced in this action,

So ORDERED and SIGNED this _2Y‘day of A La ust, 2022,

Tn samng LP orig,
HON. TONIANN# J. BONSHOVANNI
United States Magistrate Judge

 
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The undersigned hereby stipulate to the terms and agree to the entry of the

foregoing order.

/s/ Kathleen N. Fennelly
Thomas R. Curtin

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EXHIBIT A

ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND BY
JOINT AGREED ADDENDUM TO PROTECTIVE ORDER
REGARDING RIGHTSCORP SOURCE CODE

1, [print or type full name], state: My business address is ;

1. My present employer is ;
2. My present occupation or job description is ;
3. I have been informed of and have reviewed the Discovery

Confidentiality Order and the Addendum to Protective Order entered in this case,
and understand and agree to abide by their terms. I agree to keep confidential all
information provided to me in the matter of UMG Recordin ss, Inc, et al. vy. RCN
Telecom Services, LLC, et al., Case No. 19-17272, in the United States District
Court, District of New Jersey in accordance with the restrictions in the Supplemental
Protective Order, and to be subject to the authority of that Court in the event of any
violation or dispute related to the Supplemental Protective Order.

4, I state under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

 

[Signature]

Date:

 

[Printed Name]
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EXHIBIT B

CERTIFICATION OF CONSULTANT RE
JOINT AGREED ADDENDUM TO PROTECTIVE ORDER
REGARDING RIGHTSCORP SOURCE CODE

1, [print or type full name], of

 

[print or type employer name] am not an employee

 

of the Party who retained me or of a competitor of any Party or of Rightscorp and
will not use any information, documents, or things that are subject to the Joint
Agreed Addendum to Protective Order Regarding Rightscorp Source Code in UMG
Recordin s, Inc. et al. v. RCN Telecom Services, LLC, et al., Case No. 19-17272, in
the United States District Court, District of New Jersey, for any purpose other than
this litigation.

I state under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

 

[Signature]

Date:

 

[Printed Name]

 
